Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 1 of 6
Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 2 of 6
Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 3 of 6
Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 4 of 6
Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 5 of 6
Case 2:15-cr-00018-APG-VCF   Document 166   Filed 05/16/18   Page 6 of 6
